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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

JEFFREY B. REIFMAN, JONATHAN BERG,
JULIE HARLEY, CONNOR VANGESSEL, |,
ARLINE VAN GESSEL, and MIGUEL ELS eee SE-B

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ers similarly situate , PREJUDICE

Plaintiffs,
v.

CANARY CONNECT, INC.,

 

 

 

Defendant

IT IS HEREBY STIPULATED AND AGREED between the undersigned counsel for

the parties that this action is hereby dismissed with prejudice and without attorneys’ fees and costs
against any party, pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure.

Dated: New York, New York

June 27, 2019
FARUQI & FARU LP

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